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                                   5                                    UNITED STATES DISTRICT COURT

                                   6                                   NORTHERN DISTRICT OF CALIFORNIA

                                   7                                          SAN JOSE DIVISION

                                   8
                                         YAHOO! INC.,
                                   9                                                        Case No. 5:17-cv-00489-EJD
                                                          Plaintiff,
                                  10                                                        ORDER DENYING IN PART AND
                                                 v.                                         DEFERRING IN PART DEFENDANT’S
                                  11                                                        MOTION FOR JUDGMENT AS A
                                         NATIONAL UNION FIRE INSURANCE                      MATTER OF LAW
                                  12     COMPANY OF PITTSBURGH, PA,
Northern District of California




                                                                                            Re: Dkt. No. 156
 United States District Court




                                  13                      Defendant.

                                  14     I.   INTRODUCTION
                                  15          Defendant National Union Fire Insurance Company of Pittsburgh, PA (“National Union”)
                                  16   moves for judgment as a matter of law on Plaintiff Yahoo! Inc.’s (“Yahoo”) bad faith and punitive
                                  17   damages claims. National Union contends that there is no proof of bad faith, no proof of tort
                                  18   damages under Brandt v. Superior Court, 37 Cal.3d 813, 817 (1985), and no proof of punitive
                                  19   damages. For the reasons set forth below, National Union’s motion for judgment as a matter of
                                  20   law will be denied in part and deferred in part.
                                  21    II.   STANDARDS
                                  22          Federal Rule of Civil Procedure 50(a) authorizes the Court to enter judgment for a party as
                                  23   a matter of law:
                                  24                  If a party has been fully heard on an issue during a jury trial and the
                                                      court finds that a reasonable jury would not have a legally sufficient
                                  25                  evidentiary basis to find for the party on that issue, the court may:
                                  26                  (A) resolve the issue against the party; and
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                                                        (B) grant a motion for judgment as a matter of law against the party
                                   1                    on a claim or defense that, under the controlling law, can be
                                                        maintained or defeated only with a favorable finding on that issue.
                                   2

                                   3   Fed. R. Civ. P. 50(a)(1).

                                   4   III.   DISCUSSION
                                   5          A.       Bad Faith
                                   6          “To breach the implied obligation of good faith and fair dealing, an insurance company

                                   7   must unreasonably act or fail to act in a manner that deprives the insured of the beneﬁts of the

                                   8   policy. To act unreasonably is not a mere failure to exercise reasonable care. It means that the

                                   9   insurer must act or fail to act without proper cause. However, it is not necessary for the insurer to

                                  10   intend to deprive the insured of the beneﬁts of the policy.” CACI No. 2330.

                                  11          National Union contends that there is no evidence from which a reasonable jury could find

                                  12   that National Union acted in bad faith. According to National Union, no reasonable jury could
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                                  13   find that National Union’s decisions on the “publication” issue and the “Criminal Acts” exclusion

                                  14   were unreasonable. National Union also contends that Chan’s citation to the “media and internet

                                  15   type business” exclusion does not establish bad faith because Chan did not rely upon that

                                  16   exclusion to deny coverage in Sutton/Penkava; instead, National Union merely reserved its rights

                                  17   under that exclusion. National Union acknowledges that San Julian relied upon the “media and

                                  18   internet type business” exclusion to initially deny coverage in Holland, but argues that the

                                  19   undisputed evidence shows San Julian did not know that an endorsement had removed that

                                  20   exclusion, and in any event, the coverage decision would have been the same. National Union

                                  21   also contends that the denial of coverage for the Holland settlement was not unreasonable.

                                  22          Yahoo counters that there is ample evidence from which a reasonable jury could infer

                                  23   National Union’s bad faith. Among other things, Yahoo relies on evidence that:

                                  24               •     National Union’s denial letters for the Sutton and Penkava lawsuits cited to

                                  25                     exclusion 2(j)—an exclusion that was not in the 2011 Policy;

                                  26               •     National Union cited the same exclusion 2(j) in its denial of coverage for the

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                                   1                   Holland lawsuit;

                                   2               •   National Union used an incomplete copy of the 2011 Policy to determine whether

                                   3                   Holland was a covered claim;

                                   4               •   National Union “insinuated that Yahoo’s inaction in arguing for coverage was a

                                   5                   reason it denied coverage for Holland”;

                                   6               •   National Union focused on the criminal acts alleged in the underlying suits and

                                   7                   found no coverage instead of construing the allegations of the underlying suits in a

                                   8                   manner that would favor a finding of coverage;

                                   9               •   National Union did not conduct a thorough investigation of the six underlying

                                  10                   class actions and closed its claim files without “reaching out” to Yahoo other than

                                  11                   to notify Yahoo that there was no duty to defend;

                                  12               •   When Yahoo asked National Union to reconsider its position, National Union
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                                  13                   continued to deny coverage for all the reasons set for in its original letter, including

                                  14                   the exclusion 2(j);

                                  15               •   National Union took a “belts and suspenders” approach to deny coverage; and

                                  16               •   The denial letters prepared by National Union’s claims analysts, Jack Chan, Erik

                                  17                   San Julian, and Jonathan Kipnis, were approved by their managers before being

                                  18                   sent to Yahoo.

                                  19   Yahoo’s Opp’n at 3-4.

                                  20          Having reviewed the evidence described above, the court concludes that a reasonable jury

                                  21   could find, as National Union argues, that its coverage decisions were not unreasonable.

                                  22   Nevertheless, there is a legally sufficient evidentiary basis for a jury to find that National Union

                                  23   acted or failed to act without proper cause. National Union’s motion for judgment as a matter of

                                  24   law is therefore denied as to the bad faith claim. “Judgment as a matter of law is proper when the

                                  25   evidence permits a reasonable jury to reach only one conclusion.” Quiksilver, Inc. v. Kymsta

                                  26   Corp., 466 F.3d 749, 755 (9th Cir. 2006) (internal quotation marks omitted).

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                                   1          National Union’s motion is DENIED as to Yahoo’s bad faith claim.

                                   2          B.    Proof of Bad Faith Damages
                                   3          National Union raises two challenges to Yahoo’s bad faith damages calculation. First,

                                   4   National Union contends that Yahoo may not recover the full defense costs and settlement costs

                                   5   incurred in Holland because Yahoo has not presented any evidence that those losses were

                                   6   proximately caused by National Union’s breach. According to National Union, the sums Yahoo

                                   7   incurred to defend and settle Holland resulted from Yahoo being sued and choosing an insurance

                                   8   program under which it retained the risk of having to defend and settle such suits, and not from

                                   9   anything National Union did. Second, National Union contends that Yahoo has failed to produce

                                  10   a witness to explain to the jury what portion of its attorney fees are properly allocated to obtaining

                                  11   contract benefits, and therefore, Yahoo is not entitled to any fees under Brandt v. Superior Court,

                                  12   37 Cal.3d 813, 817 (1985).
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                                  13          In response, Yahoo points to Mr. Tepstein’s trial testimony, which went unchallenged by

                                  14   National Union. Mr. Tepstein confirmed that National Union never hired or paid any attorneys to

                                  15   defend Yahoo or help settle the underlying lawsuits. Yahoo contends that as a result of National

                                  16   Union’s bad faith, Yahoo “did not get the peace of mind and the benefit of the security of a

                                  17   defense” and that the damages it seeks “go directly to the harm that Yahoo suffered because of

                                  18   National Union’s conduct.” Yahoo’s Mot. at 5:15-22.

                                  19          The court finds that Yahoo has presented a legally sufficient evidentiary basis for its

                                  20   claimed damages. When an insurer breaches its duty of good faith and fair dealing, the insured is

                                  21   entitled to recover damages “for all harm that was caused by the insured.” California Civil Jury

                                  22   Instruction No. 2350. Here, Yahoo has presented evidence from which a reasonable jury could

                                  23   conclude that Yahoo incurred defense and settlement costs because National Union denied

                                  24   coverage in bad faith. The damages Yahoo seeks were foreseeable are not speculative. Further,

                                  25   the court finds that the Deductible Coverage Endorsement (“Endorsement”) does not limit

                                  26   Yahoo’s right to seek extra-contractual damages if the jury finds that National Union denied

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                                   1   coverage in bad faith. This is because National Union did not pay any amounts to Yahoo for

                                   2   defense or settlement, and therefore cannot, as a matter of right or equity, now claim that its right

                                   3   to reimbursement under the Endorsement should limit extra contractual damages.

                                   4          The court also finds that Yahoo has presented a legally sufficient evidentiary basis for

                                   5   Brandt fee allocation: (a) the fee invoices admitted into evidence, which cover periods of time

                                   6   when Yahoo was pursuing policy benefits and have been redacted to exclude work unrelated to

                                   7   Yahoo’s pursuit of policy benefits; and (b) Mr. Tepstein’s trial testimony.

                                   8          National Union’s motion is DENIED with respect to the issue of bad faith damages.

                                   9          C.    Proof of Punitive Damages
                                  10          National Union contends that Yahoo’s failure to prove any tort damages precludes any

                                  11   award of punitive damages. National Union also contends that there is no evidence—much less

                                  12   clear and convincing evidence—that any National Union corporate decisionmaker engaged in
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                                  13   “despicable” conduct or intended to defraud Yahoo by denying coverage.

                                  14          National Union’s motion is DEFERRED with respect to the issue of punitive damages.

                                  15   IV.    CONCLUSION
                                  16          For the reasons set forth above, Defendant’s motion for judgment as a matter of law is

                                  17   DENIED in part and DEFERRED in part.

                                  18          IT IS SO ORDERED.

                                  19   Dated: May 17, 2019

                                  20                                                    ______________________________________
                                                                                        EDWARD J. DAVILA
                                  21                                                    United States District Judge
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